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 6   Attorney for Defendant
     SEAN CHAICHANHDA
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     )       No. 16-CR-00134-KJM-7
                                                   )
12                                                 )
            Plaintiff,                             )       STIPULATION AND
13                                                 )       ORDER REGARDING SPECIAL
     v.                                            )       CONDITIONS OF PRETRIAL RELEASE
14                                                 )
     SEAN CHAICHANHDA,                             )
15                                                 )       Date: n/a
                                                   )       Time: n/a
16                                                 )       Judge: Honorable Deborah Barnes
            Defendants.                            )
17                                                 )
                                                   )
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20          After conferring with Pretrial Services; by stipulation, Defendant seeks to amend
21   provision number 14 of the Court’s previously issued Pretrial Release Order issued by the Hon.
22   Allison Claire on March 3, 2017. Instead of the former Home Detention requirement, it will be
23   amended to a curfew requirement as follows:
24          14. Curfew: You must remain inside your residence every day from 7:00 PM to 7:00
25   AM, or as adjusted by the pretrial services officer for medical, religious services, employment
26   or court-ordered obligations.
27          IT IS HEREBY stipulated between the United States of America through its undersigned
28   counsel, Richard Bender, Assistant United States Attorney, attorney for plaintiff and Kyle


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 1   Knapp, attorney for defendant SEAN CHAICHANDA; that Special Conditions of Release
 2   Number 14 be amended as set forth above.
 3          All other terms and conditions of release shall remain in place.
 4   IT IS SO STIPULATED.
 5
     Dated: August 21, 2017                                      PHILLIP A. TALBERT
 6                                                               UNITED STATES ATTORNEY

 7                                                       by:     /s/ Richard Bender
                                                                 RICHARD BENDER
 8
                                                                 Assistant U.S. Attorney
 9                                                               Attorney for Plaintiff

10   Dated: August 21, 2017                                      /s/ Kyle R. Knapp
11
                                                                 KYLE KNAPP
                                                                 Attorney for Defendant
12                                                               SEAN CHAICHANHDA
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 1                                       [PROPOSED] ORDER
 2          The Stipulation of the parties is hereby accepted and Special Condition of Release
 3   number 14 for Mr. Chaichanhda is modified to remove the home detention requirement and
 4   substitute a curfew requirement.
 5          The new requirement shall read:
 6          14. Curfew: You must remain inside your residence every day from 7:00 PM to 7:00
 7   AM, or as adjusted by the pretrial services officer for medical, religious services, employment
 8   or court-ordered obligations.
 9          All other terms and conditions shall remain as set.
10
            IT IS SO ORDERED.
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     Dated: August 23, 2017
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